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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

POSH SAUDI CO. LTD.                             CASE NUMBER:
     Plaintiff,
                                                JUDGE:
VERSUS
                                                MAGISTRATE JUDGE:
DYNAMIC INDUSTRIES, INC.
    Defendant.

                                           COMPLAINT

         NOW INTO COURT, through undersigned counsel, comes POSH Saudi Co. Ltd.

(“Plaintiff” or “POSH Saudi”), which brings this action against Dynamic Industries, Inc.

(“Defendant” or “Dynamic”), and respectfully represents as follows:

                                            PARTIES

                                               1.

         POSH Saudi is a foreign corporation headquartered in Dammam, Saudi Arabia.

                                               2.

         Dynamic is a Louisiana corporation with its principal place of business in New Orleans,

Louisiana, within the Parish of Orleans.

                                JURISDICTION AND VENUE

                                               3.

         This Court has subject matter jurisdiction over this action on the basis of diversity

pursuant to 28 U.S.C. § 1332 because complete diversity exists between the parties and the

matter in controversy exceeds the sum or value of $75,000 exclusive of interest and costs.




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                                               4.

         This Court has personal jurisdiction over the Defendant because Defendant is a Louisiana

corporation with its principal place of business in Louisiana, and Defendant breached its contract

within Louisiana, giving rise to harm in Louisiana.

                                               5.

         This Court is the proper venue for this action pursuant to 28 U.S.C. § 1391, because

Defendant is a citizen of this district.

                                    FACTUAL ALLEGATIONS

                                               6.

         Pursuant to a timecharterparty on an amended SUPPLYTIME 2005 form dated October

1, 2018 (the “Charterparty”), POSH Saudi chartered an offshore supply vessel to Dynamic

Industries Saudi Arabia Ltd. (“Dynamic Saudi”). Pursuant to subsequent addenda to the

Charterparty, the duration of the charter extended to January 18, 2020.

                                               7.

         Dynamic Saudi is a subsidiary of Defendant, Dynamic.

                                               8.

         On or about October 1, 2018, Donald W. Sinitiere, as a duly authorized representative of

Dynamic, signed a Parent Company Guarantee (the “Guarantee”) in favor of POSH Saudi.

Under the Guarantee, Dynamic, in its capacity as parent company of Dynamic Saudi, guaranteed

Dynamic Saudi’s performance under the Charterparty. See Exhibit A.

                                               9.

         After the charter ended, Dynamic Saudi still owed POSH Saudi a sum of THREE

MILLION NINE HUNDRED AND NINETY EIGHT THOUSAND, ONE HUNDRED AND

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SIXTY-SEVEN UNITED STATES DOLLARS AND EIGHTY CENTS (US$3,998,167.80)

under the Charterparty.

                                                  10.

         On May 4, 2020, POSH Saudi commenced arbitration against Dynamic Saudi before the

London Maritime Arbitrators Association (“LMAA”) pursuant to the Charterparty’s dispute

resolution provision to recover the outstanding amounts owed.

                                                  11.

         On September 2, 2020, the LMAA Tribunal issued a Final Arbitration Award in favor of

POSH Saudi, for the total sum claimed plus interest (at the contractual rate of 2% per month

from the due date of each invoice) and costs. See Exhibit B.

                                                  12.

         The Final Arbitration Award, which refers to POSH Saudi as “Owners” and Dynamic

Saudi as “Charterers,” provides as follows:

             (A) WE FIND AND HOLD that the Owners' claim in the sum of
                 US$3,998,167.80 succeeds in full.

             (B) WE THEREFORE AWARD AND ADJUDGE that the Charterers
                 shall forthwith pay to the Owners the said sum of US$3,998,167.80
                 (Three Million Nine Hundred and Ninety Eight Thousand, One Hundred
                 and Sixty-Seven United States Dollars and eighty cents) PLUS interest
                 at the contractual rate of 2% per month from the due date of each of the
                 invoices set out in paragraph 4 of our Reasons until the date of payment.

             (C) WE FURTHER AWARD AND ADJUDGE:

                (i) that the Charterers shall bear their own costs and pay the Owners'
                    costs of the reference (and the Owners' said costs may, if not agreed,
                    be determined by us or in the High Court in London in the Owners'
                    option on the basis set out in s.63(5) of the Arbitration Act), for
                    which purpose WE HEREBY RESERVE JURISDICTION to
                    make a subsequent Award of Costs;



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             (ii) that the Charterers shall further bear and pay the costs of this our
                  Final Arbitration Award (inclusive of our fees and interlocutory
                  charges in relation hereto) in the sum of £16,800, PROVIDED
                  ALWAYS that if, in the first instance, the Owners shall have paid
                  any amount in respect of the costs of this our Award they shall be
                  entitled to immediate reimbursement of any sum or sums so paid;
                  AND

             (iii) that the Charterers shall pay interest on any sums payable to the
                  Owners under sub-paragraph C(i) and (ii) above at the rate of 4.5%
                  (four and one-half per cent) per annum or pro rata compounded at
                  three-monthly rests from the date of this our Final Arbitration Award
                  until the date of payment or reimbursement as appropriate.

See Exhibit B.
                                               13.

         The deadline for any possible appeal to the Final Arbitration Award to be filed has

expired, meaning that the Final Arbitration Award is final and unappealable.

                                               14.

         By letters dated September 16, 2020 (attached hereto as Exhibit C) and October 8, 2020

(attached hereto as Exhibit D), POSH Saudi demanded payment from Dynamic Saudi of the

principal sum plus interest and costs awarded by the LMAA Tribunal in the Final Arbitration

Award.

                                               15.

         POSH Saudi’s demand was itemized in the September 16, 2020 letter as follows:

    (1) US$3,998,167.80 in respect of the principal sum awarded (pursuant to Paragraphs (A)
        and (B) of the Final Arbitration Award);

    (2) Interest at the contractual rate of 2% per month, from the due date of each of POSH
        Saudi’s invoices until the date of payment (Pursuant to Paragraph (B) of the Final
        Arbitration Award);

    (3) POSH Saudi’s costs of the reference calculated at US$25,828.00 and £525 (pursuant to
        Paragraph (C)(i) of the Final Arbitration Award);



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    (4) £8,400 in relation to the payment made by POSH Saudi to the Tribunal in respect of 50%
        of the Tribunal's fees of £16,800 (pursuant to Paragraph (C(ii) of the Final Arbitration
        Award); and

    (5) Interest on (3) and (4) above at the rate of 4.5% per annum or pro rata from the date of
        the Final Arbitration Award (September 2, 2020) compounded at three monthly rests to
        the date of payment (pursuant to Paragraph (C)(ii) of the Final Arbitration Award).

See Exhibit C.

                                               16.

         POSH Saudi did not receive a response to either the September 16, 2020 or October 8,

2020 letters, and Dynamic Saudi has not made any payments in respect of the sums outstanding

to POSH Saudi.

                                               17.

         In light of Dynamic Saudi’s failure to pay POSH Saudi the sums owed under the Final

Arbitration Award, POSH Saudi demanded payment from Dynamic pursuant to the Guarantee by

letter dated November 12, 2020 (attached hereto as Exhibit E), correctly setting forth the amount

owed and enclosing copies of all supporting documents.

                                               18.

         On December 9, 2020, the LMAA Tribunal issued a Final Arbitration Award Assessing

Costs (attached hereto as Exhibit F), which states as follows:

         (A) WE FIND AND HOLD that the Owners' claims in the sum of $26,828
             and £525 succeeds in full.

         (B) WE THEREFORE AWARD AND ADJUDGE that the Charterers shall
             forthwith pay to the Owners the said sums of US$26,828 (Twenty-Six
             Thousand Eight Hundred and Twenty-Eight United States Dollars) AND
             £525 (Five Hundred and Twenty Five Pounds Sterling) PLUS interest
             thereon at the rate of 4.5% (four and one-half per cent) per annum and pro
             rata compounded at three-monthly rests from 2nd September 2020 until
             the date of payment.



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             (C) WE FURTHER AWARD AND ADJUDGE:

               (i) that the Charterers shall bear their own costs and pay the Owners'
                   costs of matters determined herein (which we have assessed above in
                   the sum of US$1,000)

               (ii) that the Charterers shall further bear and pay the costs of this our
                    Final Arbitration Award Assessing Costs (inclusive of our fees and
                    interlocutory charges in relation hereto) in the sum of £1,700,
                    PROVIDED ALWAYS that if, in the first instance, the Owners
                    shall have paid any amount in respect of the costs of this our Award
                    they shall be entitled to immediate reimbursement of any sum or
                    sums so paid; AND

               (iii) that the Charterers shall pay interest on any sums payable to the
                    Owners under sub-paragraph C(ii) above at the rate of 4.5% (four
                    and one-half per cent) per annum or pro rata compounded at three-
                    monthly rests from the date of this our Final Arbitration Award
                    Assessing Costs until the date of payment or reimbursement as
                    appropriate.

See Exhibit F.

                                                19.

         Defendant has failed to make any payments to POSH Saudi required by the Guarantee

and there remains an outstanding balance totaling US$3,998,167.80 in respect of the principal

sum awarded pursuant to the Final Arbitration Award, plus costs of £10,625 and US$26,828,

together with interest.

                              COUNT I – BREACH OF CONTRACT

                                                20.

         Plaintiff incorporates by reference each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

                                                21.

         Dynamic subjected itself to all the obligations of Dynamic Saudi under the Charterparty

by signing the Guarantee in favor of POSH Saudi.

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                                               22.

         Dynamic Saudi has failed to fulfill its obligations to pay POSH Saudi the amounts owed

under the Charterparty. Specifically, Dynamic Saudi owes POSH Saudi US$3,998,167.80 in

respect of the principal sum awarded pursuant to the Final Arbitration Award, plus costs of

£8,925 and US$25,828, together with interest.

                                               23.

         Accordingly, under the Guarantee, Dynamic is liable to POSH Saudi for payment in full

on the outstanding balance totaling US$3,998,167.80 in respect of the principal sum awarded

pursuant to the Final Arbitration Award, plus costs of £8,925 and US$25,828, together with

interest.

                                               24.

         Defendant breached the Guarantee by failing to pay the amounts owed by Dynamic Saudi

as set forth above.

                                               25.

         As a result of Defendant’s breach of the Guarantee and failure to pay the amounts owed

by Dynamic Saudi, Plaintiff has been impoverished.

                                               26.

         Defendant is liable to Plaintiff for all damages caused by Defendant’s breach of the

Guarantee as well as all attorneys’ fees, expenses, and costs incurred by Plaintiff in bringing this

civil action.

         WHEREFORE, for the reasons set forth herein, Plaintiff, POSH Saudi Co. Ltd., prays

that a copy of this Complaint be served upon Defendant, Dynamic Industries, Inc., and that after



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due proceedings are had, that this Honorable Court enter judgment in favor of Plaintiff, POSH

Saudi Co. Ltd., and against Defendant, Dynamic Industries, Inc., in the form of a judgment:

         1. Declaring that Dynamic Industries, Inc. breached the Parent Company Guarantee;

         2. Awarding monetary damages to POSH Saudi Co. Ltd. totaling US$3,998,167.80, in

             respect of the principal sum awarded pursuant to the Final Arbitration Award, plus

             interest plus interest at the contractual rate of 2% (two percent) per month from the

             due date of each of POSH Saudi Co. Ltd.’s invoices until the date of payment;

         3. Awarding monetary damages to POSH Saudi Co. Ltd. totaling £8,400 in relation to

             the payment made by POSH Saudi Co. Ltd. to the LMAA Tribunal in respect of the

             Tribunal’s fees for the Final Arbitration Award, plus interest thereon at the rate of

             4.5% (four and one-half percent) per annum and pro rata compounded at three-

             monthly rests from September 2, 2020, until the date of payment ;

         4. Awarding monetary damages to POSH Saudi Co. Ltd. for US$26,828 and £525 in

             relation to POSH Saudi Co. Ltd.’s arbitration costs, plus interest thereon at 4.5%

             (four and one-half percent)_per annum and pro rata compounded at three-monthly

             rests from September 2, 2020, until the date of payment;

         5. Awarding monetary damages to POSH Saudi Co. Ltd. for £1,700 in relation to the

             payment made by POSH Saudi Co. Ltd. to the LMAA Tribunal in respect of the

             Tribunal’s fees for the Final Arbitration Award Assessing Costs, plus interest thereon

             at the rate of 4.5% (four and one-half percent) per annum and pro rata compounded at

             three-monthly rests from December 9, 2020, until the date of payment;




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         6. Awarding POSH Saudi Co. Ltd. all attorneys’ fees, expenses, and court costs incurred

             by Plaintiff in bringing this civil action;

         7. Awarding POSH Saudi Co. Ltd. pre- and post-judgment interest; and

         8. Awarding POSH Saudi Co. Ltd. all other general and equitable relief to which

             Plaintiff may be justly entitled under the law.

Dated: December 23, 2020                      Respectfully submitted,

                                              TAYLOR, PORTER, BROOKS & PHILLIPS, L.L.P.

                                              By: /s/ John Stone Campbell, III ___________
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                                              Counsel for Plaintiff, POSH Saudi Co. Ltd.


REQUEST FOR WAIVER OF SUMMONS TO BE MADE UPON:

Dynamic Industries, Inc.
Through its registered agent for service of process:
Mark Mahfouz
400 Poydras Street, Suite 1800
New Orleans, LA 70130




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